
13 N.Y.2d 793 (1963)
The People of the State of New York, Respondent,
v.
Robert Chessman, Appellant.
Court of Appeals of the State of New York.
Argued May 29, 1963.
Decided July 10, 1963.
Allan Sturim for appellant.
Frank D. O'Connor, District Attorney (Eugene Feldman of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges FULD, VAN VOORHIS, BURKE and FOSTER. Judges DYE and SCILEPPI dissent and vote to affirm.
Judgment reversed, complaint dismissed and the fine remitted upon the ground that on this record the speeding charge of which appellant has been convicted was a necessary element *795 in the conviction of reckless driving on his earlier plea of guilty. No opinion.
